                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE


 ANDREW JOSTEN LOVINGOOD,                     )
                                              )
        Plaintiff,                            )
                                              )
 vs.                                          )
                                              )      No.: ____________
                                              )
 BILL JOHNSON, DERRICK                        )      DEMAND FOR TRIAL BY JURY
 GRAVES, and MONROE COUNTY,                   )
 TENNESSEE,                                   )
                                              )
        Defendant.                            )


                              COMPLAINT FOR VIOLATIONS OF
                            PLAINTIFF’S CONSTITUTIONAL RIGHTS

        COMES NOW Plaintiff, Andrew Josten Lovingood, by and through his undersigned

 counsel and files this his Complaint for damages pursuant to 42 U.S.C. § 1983, 42 U.S.C. §

 1988, and the Constitution of the United States as follows:

                                            PARTIES

 PLAINTIFF

        1.      At all times material hereto, Plaintiff was detained/arrested by Defendants

 Johnson and Graves. He was a resident of Monroe County, Tennessee. At all times material

 hereto, Plaintiff suffered from mental/psychological illnesses, including being bi-polar,

 depressed and suffering from anxiety attacks.

 DEFENDANTS

        2.      Defendant Bill Johnson was employed by the Monroe County, Tennessee

 Sheriff’s Department. At all times material he was acting under color of law.




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        3.      Defendant Bill Johnson’s acts and failures to act were in his official capacity

 while working for the Monroe County Sheriff’s Department.

        4.      In the alternative, Defendant Bill Johnson was acting under color of law outside

 the course and scope of his employment and in his individual capacity.

        5.      Defendant Derrick Graves was employed by the Monroe County, Tennessee

 Sheriff’s Department. At all times material he was acting under color of law.

        6.      Defendant Derrick Graves’ acts and failures to act were in his official capacity

 while working for the Monroe County Sheriff’s Department.

        7.      In the alternative, Defendant Derrick Graves was not on duty at the time but was

 acting under color of law outside the course and scope of his employment and in his individual

 capacity.

        8.      Defendant Monroe County, Tennessee is a governmental entity organized and

 existing pursuant to the laws of the State of Tennessee.

        9.      By statute, Defendant Monroe County, Tennessee is liable for the non-negligent

 acts of Defendants Johnson and Graves. T.C.A. § 8-8-302.

                                 JURISDICTION AND VENUE

        10.     This Court has original jurisdiction under 28 U.S.C. § 1331 for Plaintiff’s claims

 arising out of Constitutional violations by Defendants and under 42 U.S.C. § 1983.

        11.     Venue lies in the United States District Court for the Eastern District of

 Tennessee, Northern Division, at Knoxville, Tennessee pursuant to 26 U.S.C. § 1391(b)(2)

 because substantially all of the events or omissions giving rise to the Plaintiff’s claims occurred

 in Monroe County, Tennessee.




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                            GENERAL FACTUAL ALLEGATIONS

        12.     On April 19, 2014 Plaintiff was at the Election Commission voting. However, he

 became uncomfortable as he suffers from emotional and/or psychological issues, and he left with

 the idea of going home.

        13.     Defendant Bill Johnson, who knew Plaintiff by sight, was on routine road patrol

 in his marked cruiser in his capacity as a Deputy Sheriff for the Monroe County Sheriff’s

 Department.

        14.     Defendant Bill Johnson spotted Plaintiff’s vehicle and followed Plaintiff for

 several miles before stopping him on the road.

        15.     Plaintiff stopped his car on the side of the road and put his head out of the

 window to ask what was wrong.

        16.     Defendant Derrick Graves, off duty at the time and riding in a separate car,

 stopped to assist Johnson who outranked Graves, without knowing why Defendant Johnson had

 stopped Plaintiff, and then followed Johnson to the Jail and participated in the use of excessive

 force at the Jail. Defendants Graves and Johnson subjected Plaintiff to a beating, a tasering, and

 then hog-tied him and placed Plaintiff in the back of a patrol car before transporting Plaintiff to

 the Monroe County Jail where their actions were recorded by the Jail surveillance cameras. The

 existence of these cameras was well-known to all of the Monroe County deputies and corrections

 officers, including Defendants Graves and Johnson.

        17.     At the Jail Defendant Johnson pulled Plaintiff out of the car and threw him to the

 ground with the assistance of Derrick Graves.

        18.     Defendants Johnson and Graves engaged in the use of excessive force during the

 arrest of Plaintiff and the transporting of Plaintiff to the Monroe County Jail and further beat




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 Plaintiff while hog-tied and handcuffed in the drunk tank at the Monroe County Jail in full view

 of the Jail surveillance cameras.

        19.     Many months later, Defendants Graves and Johnson were fired from the Monroe

 County Sheriff’s Department and criminally charged with the illegal use of force on Plaintiff.

        20.     Defendant Graves has entered a guilty plea as to the charges arising out of this

 incident. Graves has admitted that he did commit the offenses against Plaintiff to which Graves

 entered pleas and admitted that he was never disciplined or even the subject of any investigation

 into his actions that day prior to being indicted for his actions. Graves admitted that he used

 “knee strikes” on Plaintiff while Plaintiff was restrained in a cell at the Monroe County Jail with

 Defendant Johnson, and while multiple other deputies and corrections officers watched and

 while Plaintiff was restrained.

        21.     These actions by Defendants Johnson and Graves and others were observed, and

 recorded, by other jailers employed by the Monroe County Sheriff’s Department and assigned to

 work at the Jail. Those jailers took no action to protect Plaintiff from the beating he received at

 the hands of Graves and Johnson inside the “drunk tank” at the Jail.

        22.     Defendant Monroe County through Sheriff Bivens were made aware immediately

 of the excessive use of force on Plaintiff and failed to take action for months, allowing

 Defendants Graves and Johnson to continue working as deputy sheriffs for the County.

        23.     Prior to April 1, 2014 Defendant Monroe County and Sheriff Bivens knew that its

 deputies were engaging in a pattern of the repeated use of excessive force against citizens,

 including persons who were housed in the Monroe County Jail.

        24.     Prior to April 1, 2014 the training of deputies to recognize and handle encounters

 with persons who are mentally ill or suffering from some psychological illness was inadequate to

 ensure that the deputies would not use excessive force on such persons who were in crisis.



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        25.     Prior to April 1, 2014 Defendant Monroe County through Sheriff Bivens were

 aware that deputy sheriffs were going into the Monroe County Jail and subjecting inmates to the

 gratuitous use of force and/or to excessive force and yet had taken no action to prevent this

 abuse. Specifically, they were placed on notice from the facts set forth in Carter v. Goodman, et

 al, Sixth Circuit, Eastern District of Tennessee, Case Number 3:2013-cv-00025.

        26.     Prior to April 1, 2014 Defendant Monroe County had a written generalized policy

 against the excessive use of force and yet failed to enforce that policy and/or ratified the use of

 excessive force by deputies during arrest and after persons were incarcerated at the Jail.

        27.     Prior to April 1, 2014 Defendant Monroe County through Sheriff Bivens

 repeatedly fired, and rehired, deputies who were accused of and/or admitted to incidents of use

 of excessive force, which sent the message to all deputies that the use of excessive force would

 not be a “career-ender”, and would be tolerated by Defendant Monroe County. Carter v.

 Goodman, et al, Sixth Circuit, Eastern District of Tennessee, Case Number 3:2013-cv-00025.

 (Deputy John Wilburn, who was one of the deputies involved in the Carter abuse – fastening

 inmate Carter into a restraint chair and then spraying pepper spray in his face which he was

 restrained - was rehired by Defendant Monroe County); Deputy Sonny Smart cold-cocked an

 inmate Justin Bell at the Monroe County Jail, which incident was caught on the surveillance

 tape, and yet Defendant Bivens did not discipline or fire Deputy Sonny Smart, but instead

 arranged for the inmate’s charges to be reduced in exchange for no civil suit being filed; Deputy

 Trent Prock tasered a sleeping inmate while the inmate was on his bunk posing no threat to

 anyone and yet Prock was not fired or disciplined; Trina Sue Graham v. Monroe County,

 Tennessee et al, Monroe County Circuit Court Case Number V07340 and Graham et al v.

 Monroe County, Tennessee et al, Sixth Circuit, Eastern District of Tennessee, Case Number

 3:2007-cv-00422 (Deputy Albert Medina, assigned as a school resource officer, dragged the



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 child by her hair into his truck and then took her to the Monroe County Jail where she was

 shackled to a chair and placed in a cell with adults even though she was a juvenile. Medina was

 not terminated and went on to drag a special needs child into an office and restrain the child with

 a chokehold).

        28.      These incidents placed Defendant Monroe County on notice that the customs and

 practices of the Monroe County Sheriff’s Department regarding disciplining, supervising and

 retaining “problem deputies” were wholly inadequate to prevent the recurring pattern of physical

 abuse of persons in custody of Monroe County. These recurring incidents demonstrate that

 Defendant ignored the plain history of physical abuse that continued notwithstanding their

 “training”. This establishes that the alleged “training” was inadequate and required additional

 training and/or closer supervision of deputies to prevent.

        29.      Despite the knowledge that two of their deputies had used excessive force when

 making the arrest of Plaintiff and/or while Plaintiff was at the Monroe County Jail, Defendant

 Monroe County and Bivens took no action to investigate and discipline Defendants Graves and

 Johnson.

              THREE SEPARATE INSTANCES OF USE OF EXCESSIVE FORCE

        30.      During the original stop of Plaintiff he was beaten, tasered, and “hog-tied” by

 Defendants Johnson and Graves before being placed in Defendant Johnson’s cruiser.

        31.      Upon arrival at the Jail, Johnson parked outside the sally port and Monroe County

 Deputy Parks, who is Johnson’s step-brother, assisted Johnson in removing Plaintiff from

 Johnson’s car and then hurling Plaintiff, who was still in handcuffs and leg restraints, out of the

 patrol car and onto the concrete pavement. Parks was one of the Deputies in the “drunk tank”

 while Graves and Johnson beat Plaintiff who was restrained at the time.




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         32.    Plaintiff was then unceremoniously hauled into the gated enclosure and into the

 building into the booking area. Plaintiff remained handcuffed and hog-tied and was ultimately

 transferred into the “drunk tank” where Johnson and Graves subjected Plaintiff to a beating while

 he was still handcuffed and hog tied inside the “drunk tank”.

         33.    The Sixth Circuit has consistently held that it is a constitutional violation to

 subject a prisoner who is restrained and no longer a threat to the law enforcement officers to

 blows about the face, head and body.

         34.    This conduct has been deemed the unconstitutional use of force since at least

 1991 and therefore any reasonable officer would have known that such actions while a suspect

 was handcuffed and hog-tied and deposited alone in a monitored “drug tank” at the Jail was

 unlawful.

         35.    Defendant Monroe County acting through the Monroe County Sheriff’s

 Department never watched the surveillance videos available to it that showed Defendants Graves

 and Johnson physically abusing Plaintiff on two of the three separate occasions while at the

 Monroe County Jail.

         36.    Plaintiff is entitled to reasonable attorneys fees and costs pursuant to 42 U.S.C. §

 1988.

                               COUNT I
    VIOLATION OF PLAINTIFF’S FOURTH AMENDMENT RIGHTS TO BE FREE
       FROM EXCESSIVE USE OF FORCE BY DEFENDANT BILL JOHNSON

         37.    Plaintiff re-alleges those facts set forth in paragraphs 1-36, inclusive.

         38.    Plaintiff’s right to be free from the excessive use of force during a stop and/or

 arrest was clearly established as of April 19, 2014.

         39.    A reasonable officer would have known on April 19, 2014 that the use of force,

 including tasering and beating a citizen who was not believed to have committed any crime,



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 much less a felony, and who was handcuffed and hogtied at the time was a violation of Plaintiff’s

 constitutional rights.

         40.     The beating, tasering, and physical abuse suffered by Plaintiff at the hands of

 Defendant Johnson deprived Plaintiff of his constitutional rights to be free from such abuse.

         41.     Defendant Johnson’s actions were vicious, malicious, intentional, willful, and/or

 wanton so as to support the imposition of punitive damages against him as a deterrent to him in

 the future and as a deterrent for others who might be inclined to engaged in similar constitutional

 violations.

         42.     As a result, Plaintiff has suffered physical injuries and damages, and the

 exacerbation of a pre-existing emotion/psychological condition, which have resulted in

 hospitalization, medical treatment, and the need for psychological treatment, as well as

 psychological distress and the loss of the capacity for the enjoyment of life.

         WHEREFORE, Plaintiff demands judgment against Defendant Bill Johnson in the

 amount of one million dollars and no cents ($1,000,000.00), plus reasonable attorneys’ fees,

 costs of this action, and punitive damages in the amount of two million two hundred and fifty

 thousand dollars and no cents ($ 2,250,000.00).

                                COUNT II
     VIOLATION OF PLAINTIFF’S FOURTH AMENDMENT RIGHTS TO BE FREE
      FROM EXCESSIVE USE OF FORCE BY DEFENDANT DERRICK GRAVES

         43.     Plaintiff re-alleges those facts set forth in paragraphs 1-36, inclusive.

         44.     Plaintiff’s right to be free from the excessive use of force during a stop and/or

 arrest was clearly established as of April 19, 2014.

         45.     A reasonable officer would have known on April 19, 2014 that the use of force,

 including tasering and beating a citizen who was not believed to have committed any crime,

 much less a felony, was a violation of Plaintiff’s constitutional rights. Specifically, Defendant



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 Graves has admitted that he knew that his conduct as described herein was wrongful, and

 criminal.

        46.     The beating, tasering, and physical abuse suffered by Plaintiff at the hands of

 Defendant Graves deprived Plaintiff of his constitutional rights to be free from such abuse.

        47.     Defendant Graves’s actions were vicious, malicious, intentional, willful, and/or

 wanton so as to support the imposition of punitive damages against him as a deterrent to him in

 the future and as a deterrent for others who might be inclined to engaged in similar constitutional

 violations.

        48.     As a result, Plaintiff has suffered physical injuries and damages, and the

 exacerbation of a pre-existing emotion/psychological condition, which have resulted in

 hospitalization, medical treatment, and the need for psychological treatment, as well as

 psychological distress and the loss of the capacity for the enjoyment of life.

        WHEREFORE, Plaintiff demands judgment against Defendant Derrick Graves in the

 amount one million dollars and no cents ($1,000,000.00), plus reasonable attorneys’ fees, costs

 of this action, and punitive damages in the amount of two million two hundred and fifty thousand

 dollars and no cents ($ 2,250,000.00)

                                             COUNT III

     FAILURE ON THE PART OF DEFENDANT MONROE COUNTY TO TRAIN
   DEPUTIES TO PREVENT THE USE OF EXCESSIVE FORCE DURING ARRESTS
                 AND WHILE INCARCERATED IN THE JAIL

        49.     Plaintiff re-alleges those facts set forth in paragraphs 1-36, inclusive.

        50.     In April of 2014, it was the duty of the elected official, Sheriff Bill Bivens, in his

 official capacity, to train deputies working for the Monroe County Sheriff’s Department/Monroe

 County in the constitutional use of force and how to approach encounters with persons who were




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  mentally and/or emotionally disturbed so as to avoid the use of excessive force and/or the

  gratuitous use of force.

         51.      The pattern of instances of the use of excessive force on arrestees and inmates,

  including emotionally disturbed persons, at the Monroe County Jail, clearly established the need

  for training that would prevent this type of use of force and/or the gratuitous use of force on

  emotionally disturbed persons. The alleged “training” was so inadequate as to make the

  continued use of excessive force within the Monroe County Sheriff’s Department substantially

  certain to occur.

         52.     Due to the failure and refusal of Monroe County to adjust the training of deputies

  such as Defendants Graves and Johnson following the multiple complaints and lawsuits as set

  forth above, Defendants Graves and Johnson felt free to physically abuse a mentally disturbed

  prisoner who was handcuffed and hogtied both at the scene of Plaintiff’s arrest, but also upon

  arrival at the Monroe County Jail.

         53.     This violation of Plaintiff’s constitutional rights by failing to adequately train

  deputies within the Monroe County Sheriff’s Department in the constitutionally permissible use

  of force was deliberately indifferent to Plaintiff’s rights not to be subjected to the

  unconstitutional use of force and has resulted in physical injuries and damages to Plaintiff, and

  the exacerbation of a pre-existing emotion/psychological condition, which have resulted in

  hospitalization, medical treatment, and the need for psychological treatment, as well as

  psychological distress and the loss of the capacity for the enjoyment of life

         WHEREFORE, Plaintiff demands judgment against Defendant Monroe County in the

  amount of three million seven hundred fifty thousand dollars and no cents ($3,750,000.00), plus

  reasonable attorneys’ fees, and costs of this action.




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                                   COUNT IV
               RATIFICATION BY DEFENDANT MONROE COUNTY OF THE
                  UNCONSTITUTIONAL USE OF FORCE BY DEPUTIES

         54.     Plaintiff re-alleges those facts set forth in paragraphs 1-36, inclusive.

         55.     Despite knowing prior to April 19, 2014 that Monroe County deputies were

  engaging in the excessive use of force on persons being arrested and/or incarcerated at the

  Monroe County Jail, often in full view of surveillance cameras at the Monroe County Jail,

  Defendant Monroe County failed to discipline and/or terminate those deputies engaging in the

  unconstitutional use of force.

         56.     Defendant Monroe County knew through complaints made to Sheriff Bill Bivens

  of the use of excessive force on Plaintiff and yet no investigation into the conduct of Defendants

  Johnson and Graves was commenced, including no viewing of the readily available Jail

  surveillance footage or interviews of Jail personnel, or Plaintiff.

         57.     Defendants Johnson and Graves knew of the existence of the Monroe County Jail

  surveillance cameras and yet freely engaged in the unconstitutional use of force on Plaintiff

  while he was fully restrained because they knew from the past pattern by Monroe County that

  there would be no investigation and/or charges and/or termination of a deputy for such conduct.

         58.     Defendant Monroe County ratified the unconstitutional use of force by its

  deputies, including Defendants Johnson and Graves.

         59.     As a result of the ratification by Defendant Monroe County, Plaintiff was then

  subjected to a violation of his constitutional rights not be to subjected to the excessive use of

  force at the hands of these Defendants which caused him physical injuries and damages, and the

  exacerbation of a pre-existing emotion/psychological condition, which have resulted in

  hospitalization, medical treatment, and the need for psychological treatment, as well as

  psychological distress and the loss of the capacity for the enjoyment of life.



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         WHEREFORE, Plaintiff demands judgment against Defendant Monroe County in the

  amount of three million seven hundred fifty thousand dollars and no cents ($3,750,000.00), plus

  reasonable attorneys’ fees, and costs of this action.

                                   DEMAND FOR JURY TRIAL

         Plaintiff demands a trial by jury on all issues triable as of right by jury.


         RESPECTFULLY SUBMITTED, this the 5th day of January, 2019.


                                                          THE BOWLIN LAW FIRM P.C.


                                                 BY:      _________________________ for the Firm
                                                          Troy L. Bowlin, II BPR No. 025893
                                                          Attorney for Andrew Lovingood
                                                          First Tennessee Plaza
                                                          800 South Gay St. Suite 2131
                                                          Knoxville, TN 37929
                                                          Telephone: (865) 245-2011
                                                          troy@tblf-pc.com
                                                          www.bowlinlawfirmpc.com




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